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                            DECLARATION OF LESLIE CEDOLA
 I, Leslie Cedola, hereby declare:
       1. I am the Manager, EEO Services for the United States Postal Service (“USPS”)
 National EEO Investigative Services Office (“NEEOISO”), located in Tampa, Florida.
 My office is responsible for processing all formal complaints of discrimination filed by
 employees and applicants of USPS. As the Manager of EEO Services, I have access to
 the records related to complaints of employment discrimination made by employees.
       2. On May 7, 2019, Ebony Ballard initiated counseling with a USPS EEO counselor.
 On or about July 19, 2019, Ballard filed a formal EEO Complaint claiming
 discrimination based on sex (female) and hostile work environment starting from 2017.
 On or about August 30, 2019, Ballard made an amendment to her Complaint alleging
 retaliation stemming from her supervisor reassigning her to a different schedule in June
 2019, and a comment made by another supervisor.
       3. Attached to this declaration are true and correct copies of the following records
 that were made or kept by the NEEOISO as part of the NEEOISO’s regularly conducted
 business regarding EEO matters:
             a. Exhibit A: Informal complaint of Ebony Ballard, case no. 4F-900-0218-19,
                dated May 9, 2019.
             b. Exhibit B: Acknowledgment and Acceptance of Amendment to EEO
                Complaint, case no. 4F-900-0218-19, dated August 30, 2019.
             c. Exhibit C: EEO Investigation Report, case no. 4F-900-0218-19, dated
                October 24, 2019.
       4. The Report of Investigation for Ballard’s formal complaint was sent to Ballard on
 October 28, 2019. On November 22, 2019, Ballard requested a Final Agency Decision
 (“FAD”). On December 30, 2019, a FAD was issued in the agency’s favor.
       5. Ballard has filed no formal complaints other than that for case no. 4F-900-0218-
 19.


                                       Declaration
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